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- Exhibit 3
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82n CoNGRESs HOUSE OF REPRESENTATIVES { DocuMENT
1st Session , No, 245

7

MISSISSIPPI RIVER-GULF OUTLET

s,

LETTER

FROM

THE SECRETARY OF THE ARMY

TRANSMITTING

A LETTER FROM THE CHIEF OF ENGINEERS,: UNITED STATES
ARMY, DATED MAY 5, 1948, SUBMITTING A REPORT, TOGETHER
WITH ACCOMPANYING PAPERS AND AN ILLUSTRATION ON A
REVIEW OF REPORTS ON, AND A PRELIMINARY EXAMINATION
AND SURVEY OF, THE MISSISSIPPI RIVER-GULF OUTLET AND THE

-MOBILE TO NEW ORLEANS INTRACOASTAL WATERWAY,
REQUESTED BY RESOLUTIONS OF THE COMMITTEE ON RIVERS —

‘AND HARBORS, HOUSE OF REPRESENTATIVES, ADOPTED ON
MAY 6, 1948, AND THE COMMITTEE ON COMMERCE, UNITED
STATES SENATE, ADOPTED ON APRIL 19, 1943, AND ALSO AUTHOR-
IZED BY THE RIVER AND HARBOR ACT APPROVED ON MARCH 2,
1945 , OO

Ocronrre 1, 1051,—Referred to the Committeo on Public Works and ordered to
be printed, with one illustration

LETTER OF TRANSMITTAL

DurarTMent oF THE Anmy,
Washington 26, D. C., September 26, 1951,

The Spwaxnr or tHe Hovusn or Representatives,

Duar Mr. Spnaxur: I am transmitting horewith a report dated
May 5, 1948, from the Chief of Engineers, United States Army,
together with accompanying papers and an illustration, on a review
of reports on, and a prelimimary examination and’ survey of, the
Mississippi River-Gulf outlet. This investigation was requested by-
resolutions of the Committee on Rivers and Harbors, House of Rep-
resentatives, adopted on May 5, 1943, and the Committee on-Com-
merce, United States Senate, adopted on April 19, 1948, and. also
authorized by the River and Harbor Act approved on March 2, 1945,

In accordance with section 1 of Public Law 14, Seventy-ninth
Congress, the views of the Governor of the State of Louisiana are
set forth in the enclosed communication. :
89660—61——-1 2
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2 MISSISSIPPI RIVER-GULF OUTLET

The Bureau of the Budget makes certain comments on the report |
and advises that there is no objection to authorization of the recom-
mended works, with the understanding, however, that no appropria-
tion for construction of the project will be sought until such time as
the budgetary situation clearly makes possible the initiation of such
improvements. The complete views of the Bureau of the Budget
are contained in the attached copy of its letter.

Sincerely yours, .
Frank Pacn, di.,
Seeretary of the Army.

COMMENTS OF THE BUREAU OF THE BUDGET

Executivy Orricn or tHu PRESIDENT,
, Bureau oF THE BupGet,
. Washington 25, D. C., September 17, 1961,
The honorable the Sucrerary oF THE ARMY. .
My Dear Mr. Sucrerary:. Reference is made to Secretary Royall’s.
letter dated May 12, 1948, submitting the proposed report of the

-Chief of Engineers on the Mississippi River-Gulf outlet, requested by

resolutions of the Committce on Rivers and. Harbors, House of Rep-
resentativos, adopted May 5, 1943, and the Committee on Commerce,
United States Senate, adopted April 19, 1948, and also authorized by
the River and Harbor Act approved March 2, 1945.

The Chief of Eingineers recommends modification of the existing
project for the Mississippi River, Baton Rouge to the Gulf of Mexico,
to provide for construction of two new features:

(1). A seaway canal, 36 fect deep and 500 feet wide, extending
70 miles as a land and water cut from Micheaud southeasterly
to Lake Borgne, and across Chandeleur Sound to the 38-foot
contour in the Gulf of Mexico, with protective jetties, a per-
manent retention dike through Chandeleur Sound, and a wing
dike along the islands as required.
(2) An inner tidewater harbor.consisting of a 1,000- by 2,000-
-foot turning basin 36 feet deep ai the Jandward end of the seaway
canal, and a connecting channel 36 fect deep and 500 feet wide
extending westerly along the Gulf Intracoastal Waterway from
the turning basin to the Industrial Canal,
The plan also provides for the future construction of a channel and a
lock at Meraux to furnish an additional connection between the’
tidewater harbor and the river. The results of this project would be
therefore, a new harbor at New Orleans and a new entrance channel:
entirely separate from the Mississippi River. The new harbor and
channel would supplement but not replace the present port. facilities
at New Orleans and the present entrance channel in the river. \

The Federal cost of the recommended project is estimated on the
basis of 1948 prices at $67,000,000 for construction, with annual
charges of $4,004,000, including $1,000,000 for maintenance, The:
estimated non-Federal cost is $610,000 with annual charges of $23,000.

~The prospective tangible annual benefits total $5,835,000. These
include $3,250,000 savings in ship turn-round time; $950,000 savings.
due primarily to relief of congestion at existing genoral cargo terminals
and in the landward access facilities to the present wharves; and
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MISSISSIPPI RIVER-GULF OUTLET . . 3

$1,635,000 from reduced sailing time of coastwise vessels, reductions
in hazards to navigation, savings in terminal handling charges and
annual charges on wharves, and enhancement in value of water-front
yroperby.

The oconomic justification for the project as presented in tho report
is based largely on savings to shipping and ship-borne commodities
once they reach the harbor and the direct monetary benefits from the
oullet channel to the Gulf when considered as a separate incremental
feature would not appear to warrant the large ultimate cost. However, —
while the inner harbor basin part of the pian can be operated feasibly
as a soparate unit without the seaway through use of existing and
proposed connections to the Intracoastal Waterway and the Missis-
sippi River, it is apparent that many of the advantages of convenience
and efficiency which could be offered by the inner harbor would be
lost without the tidal connection and that the economic benefits of
the combined harbor and channel project would appear to justify its
costs.

It is considered that the inner harbor and outlet channel works,
taken together, are valuable long-range improvements which may be
added to the backlog of work to be undertaken as conditions permit,
Accordingly, you are advised that there would be no objection to.

_ authorization of the recommended works, with theunderstanding,

however, that no appropriation for construction of the project will
be sought until such time as the budgetary situation clearly makes
possible the initiation of such improvements,
Sincerely yours, \
Emer B. Starrs,
: Acting Director,

COMMENTS OF THE GOVERNOR OF LOUISIANA
{Telegram}

Baton Rover, La., April 28, 1948,
Lt. Gen. R. A. WHErier,
Chief of Engineers, United States Army, -
Washington, D, C.:

Reference is made to the reviow of. reports on the Mississippi
River-Gulf and: Mobile to New Orleans Intracoastal Waterway as
proposed by the Chief of Engineers, United States Army.

Tam familiar with the provisions of this sroposed report and thor-
oughly econeur in the views and recommendations 6xpressed therein:
The project recommended will be of inestimable benefit to the State
of Louisiana and to the Nation. A tidewater channol to the sea will
vermit. rapid development of sorely needed additional port facilities
ry the Board of Commissioners, Port of New Orleans, ‘and will provide
great additional benefits to the port,

Support of the State of Louisiana for a tidewater canal from Now
Orleans to the Gulf on tho castern sido of the Mississippi Rivor is
well shown by Concurrent Resolution No. 18 of the Louisiana Legis-
lature of 1944, in which it was resolved that the Governor of Louisiana
be specifically empowered to aid and assist the Federal Government
in obtaining and completing such a project.

James H. Davis,

Governor of Louisiana,
